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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge Daniel D. Domenico

         Civil Action No. 1:23-cv-02584-DDD-SKC

         TEVA PHARMACEUTICALS, USA. INC.,

                 Plaintiffs,
         v.

         PHIL WEISER, in his official capacity as Attorney General of the State of
         Colorado;
         PATRICIA A. EVACKO,
         ERIC FRAZER,
         RYAN LEYLAND,
         AVANI SONI,
         JAYANT PATEL,
         KRISTEN WOLF, and
         ALEXANDRA ZUCCARELLI, in their official capacity as members of the
         Colorado State Board of Pharmacy,

                 Defendants.


         ORDER DENYING PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                     AND DEFENDANTS’ MOTION TO DISMISS



              Colorado’s recently enacted Epinephrine Affordability Program goes
         into effect January 1, 2024. Plaintiff Teva Pharmaceuticals brought this
         case alleging that the Affordability Program will require it to provide
         autoinjectors to pharmacies at no cost in violation of the Fifth Amend-
         ment’s prohibition against taking private property without just compen-
         sation. Doc. 1. It has also moved for a preliminary injunction to prevent
         the law from going into effect. Doc. 2. The Defendants oppose that mo-
         tion and have moved to Dismiss Plaintiff’s case in its entirety. Docs. 29,
         35. Both motions are denied.




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                                       BACKGROUND

         I.   Epinephrine Autoinjectors and Colorado Generic-Drug
              Laws
              Epinephrine autoinjectors, commonly known as EpiPens,1 are fre-
         quently used medical devices. The epinephrine injected by an autoinjec-
         tor is a reliable countermeasure to allergy-induced anaphylactic shock.
         For people with severe allergies, having quick access to an EpiPen can
         literally be a matter of life and death.

              Plaintiff Teva Pharmaceuticals manufactures a “bioequivalent” ge-
         neric-alternative autoinjector. Doc. 26 at 12. In Colorado, pharmacists
         may substitute specified generic alternatives, like Teva’s autoinjectors,
         for brand name drug products. Colo. Rev. Stat. § 12-280-125(1)(a). And
         generic alternatives are typically less expensive than brand name drugs.
         This encourages pharmacists to provide consumers with generic drugs
         instead of brand names. For example, if a consumer was given a pre-
         scription by a doctor for a brand-name EpiPen, a pharmacist, under
         Colo. Rev. Stat. § 12-280-125(1)(a), could fill that prescription with a
         Teva-manufactured autoinjector as a cheaper, but medically equivalent,
         alternative. Teva does not directly market its autoinjectors to Colorado
         consumers. Instead, Teva sells two-packs of its autoinjectors in bulk to
         distributors and wholesalers for $300 per pack. See Deposition of Kevin
         Galownia, December 15, 2023, at 12–13. Those distributors and whole-
         salers then sell to individual pharmacies at a markup for their own
         profit. Id. According to Teva, more than 14,000 of its autoinjectors (or




         1 Much like Kleenex, Frisbee, or, in some parts of the country at least,

         Coke, “EpiPen” is a brand-name eponym for an Epinephrine Auto-Injec-
         tor. Brand-name EpiPens are a product of Pfizer. See Deposition of
         Kevin Galownia, December 15, 2023 at 10.


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         7,000 two-packs) were sold to pharmacies in Colorado in a single year.
         Doc. 1 at 9.

         II. Colorado’s Affordability Program

            Autoinjector prices have increased substantially over the years. See
         Doc. 29 at 2, n.1. To address these rising costs, the Colorado legislature
         enacted HB23-1002. The law established an affordability program
         aimed at improving the affordability of autoinjectors. Id. Most promi-
         nently, this involves limiting the costs to consumers for autoinjectors to
         $60 per two-pack. To accomplish that, the law identifies two different
         types of purchasers: insured consumers, who may be charged no more
         than a $60 copayment (with the insurance company covering the rest);
         and qualifying uninsured consumers, who are simply charged no more
         than a flat $60.

            Teva is concerned with what comes next. When a pharmacist dis-
         penses an autoinjector to an uninsured consumer, it receives only $60
         for a product when it likely paid more than five times that amount. To
         offset this loss, the law provides that a pharmacist or pharmacy may
         submit a form to the manufacturer of the autoinjector, which then has
         the choice to: “(I) Reimburse the pharmacy in an amount that the phar-
         macy paid for the number of epinephrine auto-injectors dispensed
         through the program; or (II) Send the pharmacy a replacement supply
         of epinephrine auto-injectors in an amount equal to the number of epi-
         nephrine auto-injectors dispensed.” Colo. Rev. Stat. § 12-280-
         142(8)(c)(I–II). Failure to comply with this “reimburse or resupply” re-
         quirement results in a $10,000 fine. Id. Non-compliance is also consid-
         ered a “deceptive trade practice” under Colo. Rev. Stat. § 6-1-105(1)(zzz),
         which can carry substantial penalties. The affordability program goes
         into effect January 1, 2024.




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            Teva has sued the attorney general of Colorado and each member of
         the State’s board of pharmacy, all in their official capacities. The De-
         fendants are referred to as the “State Defendants” or the “State”
         throughout this Order.2 Teva claims that the reimburse or resupply re-
         quirement would violate the Fifth Amendment Takings Clause, and
         seeks permanent and preliminary injunctive and declaratory relief.
         Docs. 1, 3. The Attorney General filed a Motion to Dismiss Teva’s claim,
         joined by the members of the board of pharmacy. Docs. 29, 35.

                                     LEGAL STANDARDS

            “A preliminary injunction is an extraordinary remedy, the exception
         rather than the rule.” Mrs. Fields Franchising, LLC v. MFGPC, 941
         F.3d 1221, 1232 (10th Cir. 2019). Such relief may be granted “only when
         the movant’s right to relief is clear and unequivocal.” McDonnell v. City
         & Cty. of Denver, 878 F.3d 1247, 1257 (10th Cir. 2018). To succeed on a
         motion for preliminary injunction, the moving party must show: (1) that
         it is “substantially likely to succeed on the merits”; (2) that it will “suffer
         irreparable injury” if the court denies the injunction; (3) that its “threat-
         ened injury” without the injunction outweighs the opposing party’s un-
         der the injunction; and (4) that the injunction is not “adverse to the pub-
         lic interest.” Mrs. Fields, 941 F.3d at 1232; accord Winter v. Nat. Res.
         Def. Council, Inc., 555 U.S. 7, 20 (2008). The third and fourth prelimi-
         nary-injunction factors “merge” when the government is the party op-
         posing the injunction. Nken v. Holder, 556 U.S. 418, 435 (2009).

            When presented with a motion to dismiss for failure to state a claim
         under Federal Rule of Civil Procedure 12(b)(6), a court “must accept all

         2 Teva originally sued Michael Conway in his official capacity as Com-

         missioner of the Colorado Division of Insurance. See Doc. 1. Teva later
         dismissed its claims against Mr. Conway after the instant motions were
         filed. See Docs. 31, 32. Mr. Conway’s dismissal did not effect the motions
         at issue.


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         the well-pleaded allegations of the complaint as true and must construe
         them in the light most favorable to the plaintiff.” Alvarado v. KOB-TV,
         L.L.C., 493 F.3d 1210, 1215 (10th Cir. 2007). But “mere ‘labels and con-
         clusions’ and ‘a formulaic recitation of the elements of a cause of action’
         will not suffice” to state a plausible claim for relief. Khalik v. United Air
         Lines, 671 F.3d 1188, 1191 (10th Cir. 2012) (quoting Bell Atl. Corp. v.
         Twombly, 550 U.S. 544, 555 (2007)). So a court should “disregard con-
         clusory statements and look only to whether the remaining, factual al-
         legations plausibly suggest the defendant is liable.” Id. “A claim has fa-
         cial plausibility when the plaintiff pleads factual content that allows the
         court to draw the reasonable inference that the defendant is liable for
         the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

            Under Rule 12(b)(1), a party may move to dismiss for lack of subject-
         matter jurisdiction, “mounting either a facial or factual attack.” Baker
         v. USD 229 Blue Valley, 979 F.3d 866, 872 (10th Cir. 2020). Factual at-
         tacks go “beyond the allegations in the complaint and adduce[ ] evidence
         to contest jurisdiction.” Id. In such cases, the court has “wide discretion
         to allow affidavits, other documents, and a limited evidentiary hearing
         to resolve disputed jurisdictional facts.” Id. (internal quotation marks
         and citation omitted). Reliance on such evidence does not necessarily
         convert the motion to one for summary judgment. Id.

                                        DISCUSSION

          I.   Defendants’ Motion to Dismiss

          The Defendants seek to dismiss the case on the grounds that Teva does
         not have standing, that its claim is not ripe, that the affordability pro-
         gram would not cause a taking, and that the Defendants have immunity.
         See Doc. 29. Because these overlapping issues implicate this court’s




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         jurisdiction, I address this motion first before turning to the remaining
         obstacles to Plaintiff’s motion for a preliminary injunction.

                   a. Standing and Ripeness

            Defendants argue that Teva lacks standing to bring its takings claim
         and that the claim is not ripe for adjudication. In both the motion to
         dismiss and in response to Teva’s motion for a preliminary injunction,
         Defendants’ ripeness and standing concerns boil down to essentially the
         same argument: Teva won’t be injured until a physical taking actually
         occurs, and the claim “is not ripe until the taking has happened.” Doc.
         20 at 10–12.

            The Takings Clause of the Fifth Amendment provides that “private
         property [shall not] be taken for public use, without just compensation.”
         U.S. Const. amend. V. As Defendants argue, the usual rule is that “when
         it comes to per se takings, which Teva alleges is at issue here, a Fifth
         Amendment claim becomes justiciable when the physical property is ac-
         tually taken or when the government attempts to assess a fine.” Doc. 45.
         at 6. In contrast to other constitutional violations, Defendants argue
         that in a takings case, “there is no constitutional right to vindicate until
         an uncompensated taking actually occurs.” Id.

            Although courts routinely grant pre-enforcement injunctive relief for
         many types of constitutional challenges to state laws, they historically
         have not granted prospective injunctive relief to prevent a physical tak-
         ing before it occurs—or to prevent a regulatory taking before it becomes
         “final.” As the Supreme Court recently recounted, by the 1870s, “as state
         courts began to recognize implied rights of action for damages under the
         state equivalents of the Takings Clause, they declined to grant injunc-
         tions because property owners had an adequate remedy at law.” Knick
         v. Twp. of Scott, Pennsylvania, 139 S. Ct. 2162, 2176 (2019). Shortly
         thereafter, the United States passed the Tucker Act, and the Supreme


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         Court “subsequently joined the state courts in holding that the compen-
         sation remedy is required by the Takings Clause itself.” Id. Even
         “[t]oday, because the federal and nearly all state governments provide
         just compensation remedies to property owners who have suffered a tak-
         ing, equitable relief is generally unavailable. As long as an adequate
         provision for obtaining just compensation exists, there is no basis to en-
         join the government's action effecting a taking.” Id.

            Prior to Knick, there were two requirements for takings claims to be
         ready for review in federal court: (1) a “final decision” from the relevant
         state actor; and (2) the plaintiff’s completion of all state court procedures
         available to receive just compensation. Wireman v. City of Orange
         Beach, No. CV 20-00005-KD-B, 2020 WL 5523403, at *6 (S.D. Ala. May
         7, 2020) (summarizing rule stated in Williamson Cnty. Reg’l Planning
         Comm’n v. Hamilton Bank of Johnson City, 473 U.S. 172, 176 (1985)).
         Knick expressly did not disturb the first “finality” prong, but it jettisoned
         the second “state-litigation” requirement. Compare 139 S. Ct. at 2169
         and 139 S. Ct. at 2178-79.

            In so doing, the Court held that “a property owner may bring a tak-
         ings claim under § 1983 upon the taking of his property without just
         compensation by a local government.” Id. at 2179. And as to the remain-
         ing “finality” requirement, the Supreme Court has subsequently stated
         that only “de facto finality is necessary,” at least in the context of regu-
         latory takings. Pakdel v. City & Cnty. of San Francisco, 141 S. Ct. 2226,
         2230 (2021). For physical takings, prior to Knick and Pakdel, courts typ-
         ically viewed the first “finality” prong as being satisfied once the physi-
         cal taking occurs. See Wireman, 2020 WL 5523403, at *6 n. 9 (collecting
         cases); see also Hensley v. City of Columbus, 557 F.3d 693, 696 (6th Cir.
         2009) (holding that for “a ‘physical taking,’ the taking itself is viewed as
         a final action”).



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            Given this, it is perhaps unsurprising that Teva has cited no cases
         directly addressing standing and ripeness in a physical takings case be-
         fore such a taking occurs. If equitable relief, including prospective in-
         junctive relief, remains “generally unavailable” for takings plaintiffs,
         “pre-enforcement” standing and ripeness doctrines would have little, if
         any, application to such claims. As the Sixth Circuit recently put it, the
         Knick court “expressed skepticism that a takings claim for injunctive
         relief would ever be ripe.” Barber v. Charter Twp. of Springfield, Michi-
         gan, 31 F.4th 382, 388 (6th Cir. 2022) (citing Knick, 139 S. Ct. at 2175,
         2179).

            But the story did not end with Knick. Two years after Knick was de-
         cided, the Supreme Court decided Cedar Point Nursery v. Hassid. 141 S.
         Ct. 2063 (2021). In that case, the plaintiff sought a preliminary injunc-
         tion to prevent a physical taking, and the defendants moved to dismiss.
         Id. at 2070. The lower courts denied the preliminary injunction motion
         and granted the motion to dismiss, but the Court reversed the court of
         appeals’ judgment and remanded. The Supreme Court did not explicitly
         address whether a preliminary injunction was appropriate or even avail-
         able to the plaintiff in Cedar Point. But at least one circuit court has
         viewed the Cedar Point ruling as a tacit endorsement of the principle
         that a plaintiff may have a ripe takings claim even prior to the actual
         physical taking occurring. Barber, 31 F. 4th at 388-89. Given this, and
         other guidance from the Supreme Court, the Sixth Circuit concluded
         that “a claim for injunctive relief is ripe if the government has reached
         a final decision that will enable a future physical taking.” Id. (citing Pak-
         del, 141 S. Ct. at 2230).

            The Sixth Circuit’s approach to physical takings—that is, allowing
         for the possibility that claims can ripen before a physical taking actually
         occurs—makes good sense in light of Knick, Cedar Point, and Pakdel.



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         And for similar reasons, an imminent, future taking can confer standing
         prior to the physical taking occurring. See Barber, 31 F.4th at 389-91
         (reversing district court and finding that potential future injury con-
         ferred standing even prior to physical taking occurring).

            The ripeness and standing analysis, however, should not be conflated
         with the merits issue of whether Plaintiff can obtain injunctive relief—
         either preliminary or permanent:

            While the ripeness inquiry addresses unique issues in takings
            cases, courts must not use the ripeness doctrine as an opportunity
            to prematurely reach thorny merits questions. For example, De-
            fendants focus heavily on other questions that go to the merits:
            whether Barber can sue for injunctive relief to prevent a taking;
            whether she is limited to seeking just compensation as a remedy
            after a taking . . . . But these are not ripeness questions.

         Id. at 389 n.4 (emphasis in original). “For purposes of standing, the ques-
         tion cannot be whether the Constitution, properly interpreted, extends
         protection to the plaintiff's asserted right or interest. If that were the
         test, every losing claim would be dismissed for want of standing.” Initi-
         ative & Referendum Inst. v. Walker, 450 F.3d 1082, 1092 (10th Cir.
         2006).

                   b. Teva Has Standing to Bring Its Takings Claim

            Article III of the Constitution limits the jurisdiction of federal courts
         to “Cases” and “Controversies.” U.S. Const., Art. III, § 2. “The doctrine
         of standing gives meaning to these constitutional limits by identifying
         those disputes which are appropriately resolved through the judicial
         process.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157 (2014).
         To establish standing, a plaintiff must show (1) an injury in fact, (2) a
         causal connection between the injury and the alleged conduct, and (3)
         redressability. Id. An “injury in fact” must be “concrete and particular-
         ized” and “actual or imminent, not conjectural or hypothetical.” Id.



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        (internal quotation marks omitted). “That does not mean that she must
        have already suffered an injury.” Barber, 31 F. 4th at 390. “Rather, ‘a
        person exposed to a risk of future harm may pursue forward-looking,
        injunctive relief to prevent the harm from occurring, at least so long as
        the risk of harm is sufficiently imminent and substantial.’” Id. (quoting
        (Transunion LLC v. Ramirez, 594 U.S. 413, 435 (2021)); see also Peck v.
        McCann, 43 F.4th 1116, 1129-30 (10th Cir. 2022).

           Applied here, Teva’s alleged harm is sufficiently “imminent and sub-
        stantial” to confer standing. Teva faces several impending harms under
        the new law. First, if Teva complies with the law—and a pharmacy seeks
        reimbursement for an uninsured customer’s receipt of an autoinjector—
        Teva will either have to transfer some of its autoinjectors for free or re-
        imburse the pharmacy for previous products that it sold to the phar-
        macy. Either way, Teva argues, this will amount to an unlawful taking.
        And if Teva refuses, as it indicated it would when questioned at the
        hearing, it is subject to a monthly $10,000 fine, among other potential
        enforcement actions. See Consumer Data Industry Ass’n v. King, 678
        F.3d 898 (10th Cir. 2012) (“[T]he existence of a statute implies the threat
        of its enforcement, and the [plaintiff] was entitled to bring a pre-enforce-
        ment challenge based on the probability of future injury.”).

           Defendants argue that any risk is too attenuated to confer standing.
        The argument goes that Teva’s harm depends on a chain of events not
        guaranteed to happen, including that (1) someone who is uninsured (or
        underinsured) applies for an autoinjector under the program; (2) a phar-
        macist will dispense one of Teva’s products to such a person; (3) the
        pharmacist will make a claim to Teva; and (4) in light of that claim, Teva
        will suffer some economic harm. According to Defendants, “[t]hese are
        all matters of pure conjecture.” Doc. 20 at 11.




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           That is just not so. As Teva has alleged, and the State has not dis-
        puted, Teva sold thousands of autoinjectors in Colorado last year and is
        likely to do so going forward. Teva has represented that its share of the
        autoinjector market nationally is nearly forty percent, and there is no
        reason to think it is significantly different in Colorado. And as Teva ar-
        gues, multiple factors will drive pharmacists to dispense Teva’s prod-
        ucts, including state law’s encouragement of the use of generic products,
        the limited competition among manufacturers for such products, and the
        volume of products Teva shipped last year. Doc. 37 at 15. Finally, prod-
        ucts that Teva has already shipped to Colorado pharmacies are likely to
        become subject to the affordability program if dispensed once the pro-
        gram becomes active. So Teva is already in the position of having to de-
        cide whether to continue shipping its products and risk facing either an
        alleged taking or fines for refusing to comply. Far from “pure conjec-
        ture,” it appears imminent and inevitable that the law will impact Teva
        in the way they allege is a constitutional violation. This is sufficient to
        confer standing.

                  c. Teva’s Claim Is Ripe

           To the extent there is a difference between constitutional standing
        and ripeness, it does not alter the analysis here. “Standing and ripeness
        are closely related in that each focuses on whether the harm asserted
        has matured sufficiently to warrant judicial intervention.” Peck, 43
        F.4th at 1133 (internal quotation marks and citation omitted). In pre-
        enforcement challenges, moreover, standing and ripeness often “boil
        down to the same question.” See SBA List, 573 U.S. at 157 n.5. It may
        be possible that a case which is not ripe could satisfy standing, but De-
        fendants have not shown that is the case here.

           As touched on above, in light of Knick, Cedar Point, and Pakdel, “a
        claim for injunctive relief is ripe if the government has reached a final


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        decision that will enable a future physical taking.” Barber, 31 F.4th at
        388-89. Here, there’s no question what Teva has to give up should a
        pharmacy seek reimbursement—autoinjectors or money. See MacDon-
        ald, Sommer, & Frates v. Yolo Cty., 477 U.S. 340, 348 (1986). Nor is there
        uncertainty about how the affordability program works—if Teva refuses
        to reimburse a pharmacy with its personal property or money, it faces a
        monetary sanction. This is not a land use case where there is some mech-
        anism for the government to grant a variance that has not yet been fi-
        nalized. The law here, and how it will apply to Teva, is set. Teva has
        therefore shown “de facto finality” sufficient for its claim to ripen. Pak-
        del, 141 S. Ct. at 2230. The ripeness analysis therefore aligns with the
        standing analysis, and this case is ready for adjudication. See Peck, 43
        F.4th at 1133.

                  d. Eleventh Amendment Immunity

           Defendants also argue that Teva’s claim must be dismissed because
        they are immune to suit under the Eleventh Amendment. They argue
        that “if Teva properly reframes its claim as one for just compensation
        and proves a taking has occurred, Eleventh Amendment sovereign im-
        munity still bars such a claim from being brought against any state of-
        ficial” in Federal Court. Doc. 29 at 5.

           True, the Eleventh Amendment shields state officials from monetary
        claims for takings. See Williams v. Utah Dep’t of Corr., 928 F.3d 1209,
        1212-14 (10th Cir. 2019). But under the Ex Parte Young doctrine, “a
        plaintiff may sue individual state officers acting in their official capaci-
        ties if the complaint alleges an ongoing violation of federal law and the
        plaintiff seeks only prospective relief.” Hendrickson v. AFSCME Council
        18, 992 F.3d 950, 965 (10th Cir. 2021) (citation omitted). Teva has dis-
        claimed any intent to pursue monetary damages and seeks only prospec-
        tive injunctive relief.


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           But the attorney general also argues that there is no prospective ac-
        tion to enjoin, because “enforcement action under [the affordability pro-
        gram] is wholly discretionary,” and that he is therefore immune from
        suit. Doc. 20 at 9. That the attorney general’s enforcement is discretion-
        ary is no defense to prospective injunctive relief when there has been no
        disavowal of intent to enforce. See Mink v. Suthers, 482 F.3d 1244, 1254
        (10th 2007); Darren Patterson Christian Academy v. Roy, No. 1:23-cv-
        01557-DDD-STV, 2023 WL 7270874 at *9 (D. Colo. Oct. 20, 2023).3 The
        mere “existence of a statute implies the threat of its enforcement,” and
        Teva may seek prospective injunctive relief on that ground. King, 678
        F.3d at 902 (emphasis added). This falls squarely within the Ex Parte
        Young exception to Eleventh Amendment immunity and provides no
        grounds for dismissal. See Hendrickson, 992 F.3d at 965.

                  e. The Reimburse and Resupply Requirement Would
                     Effect a Taking

           A physical taking of property under the Fifth Amendment occurs if
        “government has physically taken property for itself or someone else—
        by whatever means. . . . Whenever a regulation results in a physical ap-
        propriation of property, a per se taking has occurred.” Cedar Point
        Nursery, 141 S.Ct. at 2072 (internal citations omitted).

           Defendants argue in their motion to dismiss that even triggering the
        reimburse-or-resupply requirement would not inflict a taking on Teva
        at all. Instead, the State contends that when acting pursuant to its po-
        lice power, no taking can occur. Doc. 29 at 11. The State relies on Lech
        v. Jackson, 791 F. App’x 711, 718 (10th Cir. 2019), a case in which police
        damaged a private home while attempting to apprehend a criminal


        3 While the Board of Pharmacy defendants joined the attorney general’s

        motion in full, (Doc. 46), it was not argued that their duty to enforce the
        statute was discretionary, and they have provided no disavowal of en-
        forcement.


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        barricaded inside. The Tenth Circuit found that “the damage caused in
        the course of arresting a fugitive on plaintiffs’ property was not a taking
        for public use, but rather it was an exercise of the police power.” Id.

           Lech is an unpublished decision and therefore not binding authority,
        but even accepting its holding, there is a world of difference between
        that case and this one. While Lech involved a very literal exercise of the
        police power—enforcing criminal law—this case involves “physical ap-
        propriation of property,” therefore, it is a “per se taking.” Cedar Point
        Nursery, 141 S. Ct. at 2072. Lech, and the primary case that it cites, are
        not only specific to “the most traditional function of the police power:
        entering property to effectuate an arrest or a seizure,” but also to dam-
        age or destruction of property. Id.; Bachmann v. United States, 134
        Fed. Cl. 694, 696 (Fed. Cl. 2017) (law enforcement causing property
        damage in pursuit of a fugitive); AmeriSource Corp. v. United States,
        525 F.3d 1149, 1150 (Fed. Cir. 2008) (law enforcement seizing and “ren-
        der[ing] worthless” property in a criminal investigation).

           That is not the effect of the affordability program’s reimburse or re-
        supply requirement. The State in this case does not damage, destroy or
        devalue Teva’s property. It requires that possession of property be trans-
        ferred from its owner to another. That is all that is required to trigger
        the Taking Clause. Cedar Point Nursery, 141 S. Ct. at 2072 (“The essen-
        tial question is . . . whether the government has physically taken prop-
        erty for itself or someone else—by whatever means—or has instead re-
        stricted a property owner's ability to use his own property.”); Horne v.
        Dep’t of Ag., 576 U.S. 350, 360 (2015) (affirming “the rule that a physical
        appropriation of property gave rise to a per se taking, without regard to
        other factors”). The affordability program would enact a taking of Teva’s
        autoinjectors, and the Fifth Amendment renders that taking unconsti-
        tutional unless just compensation is provided.



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        II.   Teva’s Motion for a Preliminary Injunction

           Teva’s complaint seeks a permanent injunction and a declaration
        that the affordability program is unconstitutional. Doc. 26. In addition,
        Teva has moved for a preliminary injunction to block the reimburse or
        resupply requirement during the pendency of this suit. Docs. 2, 3. Many
        of the State’s arguments against the preliminary injunction mirror the
        arguments in its Motion to Dismiss. See generally, Doc. 20. Those argu-
        ments, already addressed above, will not be repeated here. The only re-
        maining argument is whether injunctive relief is available for the harm
        that Teva alleges it would incur.

           Equitable relief in the form of a preliminary injunction is only justi-
        fied if a plaintiff will suffer “irreparable injury” during the pendency of
        the case without an injunction. Beltronics USA, Inc. v. Midwest Inven-
        tory Distrib., 562 F.3d 1067, 1070 (10th Cir. 2009); Schrier v. University
        of Co., 427 F.3d 1253, 1267 (10th Cir. 2005) (“The purpose of a prelimi-
        nary injunction is not to remedy past harm but to protect plaintiffs from
        irreparable injury that will surely result without their issuance.”).
        “What makes an injury ‘irreparable’ is the inadequacy of, and the diffi-
        culty of calculating, a monetary remedy after a full trial.” Free the Nipple
        v. City of Fort Collins, 916 F.3d 792, 806 (10th Cir. 2019) (quoting Awad
        v. Ziriax, 670 F.3d 1111, 1131 (10th Cir. 2012)).

           This presents an incongruity in the law. Teva seeks to enjoin the tak-
        ing of its property without compensation. Such a taking would violate
        Teva’s constitutional rights, and that alone is usually an irreparable in-
        jury. Id. (“Most courts consider the infringement of a constitutional right
        enough and require no further showing of irreparable injury.”). But “[i]t
        is also well settled that simple economic loss usually does not, in and of
        itself, constitute irreparable harm; such losses are compensable by mon-
        etary damages.” Heideman v. South Salt Lake City, 148 F.3d 1182, 1189


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        (10th Cir. 2003). To resolve this incongruity, courts typically treat tak-
        ings claims as compensable, rather than irreparable, making even per-
        manent injunctive relief unavailable in most cases. See Knick, 139 S. Ct.
        at 2198; Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1016 (1984) (“Eq-
        uitable relief is not available to enjoin an alleged taking of private prop-
        erty for a public use.”). “As long as an adequate provision for obtaining
        just compensation exists, there is no basis to enjoin the government's
        action effecting a taking.” Id. at 2176.

           As Teva points out, however, the property owner’s means of obtain-
        ing compensation must be “adequate” to preclude injunctive relief.
        See Regional Rail Reorganization Act Cases, 419 U.S. 102, 107, 149,
        (1974) (reversing an injunction because “the availability of the Tucker
        Act guarantees an adequate remedy at law for any taking which might
        occur” (emphasis added)); Hurley v. Kincaid, 285 U.S. 95, 99, 105,
        (1932) (declining to “enjoin the carrying out of any work” because the
        Tucker Act provided “a plain, adequate, and complete remedy at law”)
        (emphasis added); Cherokee Nation v. Southern Kan. Ry. Co., 135 U.S.
        641, 659 (1890) (denying injunctive relief where compensation was “suf-
        ficiently reasonable, certain, and adequate”) (emphasis added). Ade-
        quacy of a legal remedy, for these purposes, is considered under the hun-
        dred-year-old test from Terrace v. Thompson, 263 U.S. 197 (1923). While
        weighing whether to issue injunctive relief in that case, the Supreme
        Court was clear “[t]hat a suit in equity does not lie where there is a plain
        adequate and complete remedy at law is so well understood as not to
        require the citation of authorities. But the legal remedy must be as com-
        plete, practical and efficient as that which equity could afford.” Id. at 214
        (emphasis added).

           Teva argues that it has no legal remedy as complete, practical and
        efficient as injunctive relief. According to Teva, the only legal remedy



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        that could compensate for the reimburse or resupply taking would be an
        endless series of state suits for monetary damages. The affordability act
        has no sunset clause, and the applicable statute of limitations is two
        years. And as discussed above, the number of autoinjectors that Teva
        will have to resupply is nowhere near certain. Teva believes that to get
        just compensation in the form of monetary damages, it would be re-
        quired to keep track of every autoinjector it resupplies, determine its
        fair market value, and then bring biannual suits against the State of
        Colorado to compensate for two years’ worth of taken autoinjectors. That
        process, Teva argues, would be neither practical nor efficient.

           The argument has some force. A repetitive multiplicity of suits can
        render a legal remedy inadequate. Di Giovanni v. Camden Fire Ins.
        Ass’n, 296 U.S. 64, 70 (1935) (“Avoidance of the burden of numerous
        suits at law between the same or different parties, where the issues are
        substantially the same, is a recognized ground for equitable relief in the
        federal courts.”); Hale v. Allinson, 188 U.S. 56, 72–78 (collecting cases).
        But the possibility of multiplicity does not ensure equity is available. Di
        Giovanni, 296 U.S. at 71 (“The single fact that a multiplicity of suits
        may be prevented by this assumption of jurisdiction is not in all cases
        enough to sustain it.”); Hale, 188 U.S. at 77 (“Cases in sufficient number
        have been cited to show how divergent are the decisions on the question
        of jurisdiction. It is easy to say it rests upon the prevention of a multi-
        plicity of suits, but to say whether a particular case comes within the
        principle is sometimes a much more difficult task.”).

           In the context of a takings claim, however, the longstanding recogni-
        tion that compensation is an adequate remedy makes this harder to ap-
        ply. Teva relies on Eastern Enterprises v. Apfel, 524 U.S. 498 (1998). Ap-
        fel is useful, but not dispositive. First, it did not turn on the “multiplicity
        of suits” theory Teva relies on, but rather on the observation that



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        compensation for a taking purely of money “would entail an utterly
        pointless set of activities” (i.e., the plaintiffs there paying money into a
        fund only to be reimbursed by the government). Id. at 521. Second, that
        view was adopted by only four justices in a plurality opinion. The fifth
        vote, which came from Justice Kennedy, was based on Due Process ra-
        ther than the Takings Clause. Id. at 539. The Tenth Circuit has declined
        to apply Apfel because the non-plurality majority of the Court, consist-
        ing of four dissenters and concurring Justice Kennedy, found that the
        case did not implicate the Fifth Amendment Takings Clause. See Gor-
        don v. Norton, 322 F.3d 1213, 1217 (10th Cir. 2003). It also distinguished
        continuous physical takings from “the statutory taking of monetary as-
        sets” that occurred in that case. Id. at 1218.

           More on point is Pharmaceutical Research and Manufacturers of
        America v. Williams, 64 F.4th 932 (8th Cir. 2023) (“PhRMA”). In that
        case, Minnesota enacted a law very much like Colorado’s Affordability
        Program. It required pharmacies to dispense insulin to qualifying indi-
        viduals, while charging no more than a $35 co-pay. Id. at 938. The phar-
        macies could then demand that the manufacturer of the insulin either
        “reimburse the pharmacy in an amount that covers the pharmacy's ac-
        quisition cost” or “send to the pharmacy a replacement supply of the
        same insulin as dispensed in the amount dispensed.” Minn. Stat. §
        151.74(3)(d). After that law went into effect, a trade group of pharma-
        ceutical companies sought to have it enjoined and declared an unconsti-
        tutional taking.

           The district court dismissed the case, but the Eighth Circuit re-
        versed, holding that PhRMA’s only legal remedy was inadequate “be-
        cause PhRMA’s members would be ‘bound to litigate a multiplicity of
        suits’ to be compensated.” PhRMA, 64 F.4th at 945 (quoting Equitable
        Life Assur. Soc. v. Wert, 102 F.2d 10 (8th Cir. 1939)). The Eighth Circuit



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        acknowledged that Knick repeatedly warned against enjoining govern-
        ment takings. Id. at 941 (citing Knick, 139 S.Ct. at 2176). But it reasoned
        that “Knick does not hold that every state’s compensation remedy is ad-
        equate in a particular situation; implicit in Knick is the requirement
        that just compensation must be available to petitioners seeking a rem-
        edy.” Id. The panel concluded that repetitive suits for damages were not
        “complete practical and efficient,” and injunctive relief was appropriate.
        Id. (quoting Terrace, 263 U.S. at 214).

           PhRMA is not binding, and Teva points to no similar decision that is.
        The Tenth Circuit, for its part, has never recognized that a multiplicity
        of suits renders legal remedies inadequate in the takings context. See
        Gordon, 322 F.3d at 1216. And while PhRMA is nearly on all fours with
        this case, a key difference remains. PhRMA did not seek preliminary
        injunctive relief. In fact, not a single case cited by Teva granted prelim-
        inary relief to enjoin a taking.

           Teva’s case is based on the proposition that it would be bound to
        bring an infinite series of takings suits against the State for the foresee-
        able future. That may end up being true, in which case a declaratory
        judgment or permanent injunction may be appropriate as part of a final
        judgment. But it does not warrant extraordinary preliminary relief.
        “[T]he limited purpose of a preliminary injunction ‘is merely to preserve
        the relative positions of the parties until a trial on the merits can be
        held.’” Schrier, 427 F.3d at 1258 (quoting Univ. of Tex. v. Camenisch,
        451 U.S. 390, 395 (1981)). Preliminary relief is not appropriate unless
        the harm “during the time it will take to litigate this case” would make
        it “impossible to . . . restore the status quo ante in the event they pre-
        vail.” Heideman, 348 F.3d at 1189. That is why “[a] preliminary injunc-
        tion is an extraordinary remedy, the exception rather than the rule.”
        Mrs. Fields Franchising, LLC v. MFGPC, 941 F.3d 1221, 1232 (10th



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        Cir. 2019). “District courts have discretion over whether to grant pre-
        liminary injunctions.” FTN, 916 F.3d at 796. And one may be granted
        “only when the movant’s right to relief is clear and unequivocal.” McDon-
        nell v. City & Cty. of Denver, 878 F.3d 1247, 1257 (10th Cir. 2018).

           Even if Teva is right that it would be required to indefinitely bring
        multiple, repetitive, complicated suits under this law, and that that ren-
        ders any compensation constitutionally inadequate, that is not true of
        the time during the pendency of this case. Teva would not have an in-
        calculable or infinite number of takings claims occur in the limited
        timeframe between now and the conclusion of this suit. Any takings
        claims that accrue between now and the final resolution of this suit can
        be compensated for with a finite set of, or possibly even a single, law-
        suit.4 The possible redundancy and inefficiency of future suits for mon-
        etary relief may eventually require injunctive relief. But it does not ap-
        ply during the pendency of this suit, so preliminary relief must be de-
        nied.




        4 Teva argues that valuation alone would be extremely difficult, as the

        wholesalers’ and distributors’ prices vary and the amount of “just com-
        pensation” due for each set of autoinjectors would too. The State dis-
        putes this. The hearing did not clarify the answer to this dispute over
        the operation of the law, and that uncertainty further undermines the
        propriety of a preliminary injunction at this early stage of the litigation.


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                                   CONCLUSION

           It is ORDERED that:

           Plaintiff’s Motion for a Preliminary Injunction, Doc. 2, and
        Defendants’ Motion to Dismiss, Doc. 29, are both DENIED.

        DATED: December 27, 2023         BY THE COURT:



                                         Daniel D. Domenico
                                         United States District Judge




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